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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                            )
  In re:                                                    ) Chapter 11
                                                            )
  ENJOY TECHNOLOGY, INC., et al., 1                         ) Case No. 22-10580 (JKS)
                                                            )
                               Debtors.                     ) (Jointly Administered)
                                                            )
               NOTICE OF AMENDED 2 AGENDA OF MATTERS SCHEDULED FOR
                       HEARING ON JULY 26, 2022 AT 11:00 A.M. (ET)


          THE REMOTE HEARING WILL BE CONDUCTED ENTIRELY BY ZOOM
           AND REQUIRES ALL PARTICIPANTS TO REGISTER IN ADVANCE.

                   YOU ARE INVITED TO A ZOOMGOV MEETING.
          WHEN: JULY 26, 2022 AT 11:00 A.M. EASTERN TIME (US AND CANADA)

                           REGISTER IN ADVANCE FOR THIS MEETING:

https://debuscourts.zoomgov.com/meeting/register/vJIscOuqqDIqHq0QbLMQkzM1pR9_t0xjUKQ

AFTER REGISTERING, YOU WILL RECEIVE A CONFIRMATION EMAIL CONTAINING
              INFORMATION ABOUT JOINING THE MEETING.


  I.         CONTESTED MATTERS GOING FORWARD:

             1.       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the
                      Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use
                      Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative
                      Expense Status, (IV) Granting Adequate Protection to the Senior Secured Lender,
                      (V) Modifying Automatic Stay, (VI) Scheduling a Final Hearing, and (VII)
                      Granting Related Relief [Docket No. 11 – filed June 30, 2022]

                      Objection / Response Deadline:           July 14, 2022 at 4:00 p.m. (ET); extended for
                                                               PMA Companies to July 15, 2022 at 5:00 p.m.


  1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number include: Enjoy Technology, Inc. (6891); Enjoy Technology Operating Corp. (N/A); Enjoy Technology
      LLC (N/A). The location of the Debtors’ service address in these chapter 11 cases is 3240 Hillview Avenue, Palo
      Alto, CA 94304.
  2
      Amended agenda items appear in bold.


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                                                       (ET); extended for the Committee to July 18,
                                                       2022 at 4:00 p.m. (ET)

                   Objections / Responses Received:

                   A.     Combined Objection of the Official Committee of Unsecured Creditors to
                          the (1) Motion of Debtors for Entry of Interim and Final Orders (I)
                          Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing
                          the Debtors to Use Cash Collateral, (III) Granting Liens and Providing
                          Superpriority Administrative Expense Status, (IV) Granting Adequate
                          Protection to the Senior Secured Lender, (V) Modifying Automatic Stay,
                          (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [D.I.
                          11]; and (2) Motion of Debtors for Entry of (I) an Order (A) Approving
                          Certain Bidding Procedures and the Form and Manner of Notice Thereof,
                          (B) Scheduling an Auction and a Hearing on the Approval of the Sale of
                          all or Substantially all of the Debtors’ Assets, (C) Establishing Certain
                          Assumption and Assignment Procedures and Approving Manner of Notice
                          Thereof, and (D) Scheduling a Hearing to Approve Assumption and
                          Assignment of the Assumed Contracts; and (II) an Order (A) Authorizing
                          and Approving the Debtors’ Entry into an Asset Purchase Agreement; and
                          (B) Authorizing the Sale of all or Substantially all of the Debtors’ Assets
                          Free and Clear of all Encumbrances; and (III) an Order Approving the
                          Assumption and Assignment of the Assumed Contracts; and (IV) Granting
                          Related Relief [D.I. 86] [Docket No. 142 – filed July 18, 2022]

                   B.     Informal Comments from PMA Companies

                   Related Documents:

                   i.     Declaration of Marc D. Puntus in Support of the Debtors’ Motion for
                          Entry of Interim and Final Orders (I) Authorizing the Debtors to Obtain
                          Postpetition Financing, (II) Authorizing the Debtors to Use Cash
                          Collateral, (III) Granting Liens and Providing Superpriority
                          Administrative Expense Status, (IV) Granting Adequate Protection to the
                          Senior Secured Lender, (V) Modifying Automatic Stay, (VI) Scheduling a
                          Final Hearing, and (VII) Granting Related Relief [Docket No. 12 – filed
                          June 30, 2022]

                   ii.    Interim Order (A) Authorizing the Debtors to Obtain Postpetition
                          Financing, (B) Authorizing the Debtors to Use Cash Collateral,
                          (C) Granting Liens and Superpriority Administrative Expense Claims,
                          (D) Granting Adequate Protection to the Prepetition Lender, and
                          (E) Modifying the Automatic Stay, and (F) Granting Related Relief
                          [Docket No. 83 – entered July 1, 2022]

                   iii.   Notice of (A) Entry of Interim Order (A) Authorizing the Debtors to
                          Obtain Postpetition Financing, (B) Authorizing the Debtors to Use Cash

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                          Collateral, (C) Granting Liens and Superpriority Administrative Expense
                          Claims, (D) Granting Adequate Protection to the Prepetition Lender, and
                          (E) Modifying the Automatic Stay, and (F) Granting Related Relief; and
                          (B) Final Hearing Thereon [Docket No. 85 – filed July 1, 2022]

                   iv.    Debtors’ Omnibus Reply in Support of (I) Bidding Procedures Motion,
                          and (II) DIP Financing Motion [Docket No. 169 – filed July 21, 2022]

                   v.     Notice of Filing of Proposed Form of DIP Credit Agreement [Docket No.
                          176 – filed July 21, 2022]

                   vi.    Notice of Filing of Proposed Form of Final DIP Order [Docket No.
                          182 – filed July 22, 2022]

                   Witness Information:

                   The Debtors may offer the testimony by declaration, proffer, and/or live video
                   testimony of the following individuals:

                   a.     Marc D. Puntus – Partner and Co-Head of Debt Advisory and
                          Restructuring Group, Centerview Partners LLC

                   b.     John Boken – Managing Director, AlixPartners, LLP

                   The Official Committee of Unsecured Creditors may offer the testimony by
                   declaration, proffer, and/or live video testimony of the following individual:

                   a.     Liz Park Hu – FTI Consulting, Inc.

                   Status: On July 22, 2022, the Debtors filed a proposed form of final order
                           [Docket No. 182]. The hearing on this matter is going forward.

         2.        Motion of Debtors for Entry of (I) an Order (A) Approving Certain Bidding
                   Procedures and the Form and Manner of Notice Thereof, (B) Scheduling an
                   Auction and a Hearing on the Approval of the Sale of all or Substantially all of
                   the Debtors’ Assets, (C) Establishing Certain Assumption and Assignment
                   Procedures and Approving Manner of Notice Thereof, and (D) Scheduling a
                   Hearing to Approve Assumption and Assignment of the Assumed Contracts; and
                   (II) an Order (A) Authorizing and Approving the Debtors’ Entry into an Asset
                   Purchase Agreement; and (B) Authorizing the Sale of all or Substantially all of
                   the Debtors’ Assets Free and Clear of all Encumbrances; and (III) an Order
                   Approving the Assumption and Assignment of the Assumed Contracts; and
                   (IV) Granting Related Relief [Docket No. 86 – filed July 3, 2022]

                   Objection / Response Deadline: July 15, 2022 at 4:00 p.m. (ET); extended for
                                                  the Committee to July 18, 2022 at 4:00 p.m.
                                                  (ET)

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                   Objections / Responses Received:

                   A.     Objection of the United States Trustee to the Motion of Debtors for Entry
                          of (I) an Order (A) Approving Certain Bidding Procedures and the Form
                          and Manner of Notice Thereof, (B) Scheduling an Auction and a Hearing
                          on the Approval of the Sale of all or Substantially all of the Debtors’
                          Assets, (C) Establishing Certain Assumption and Assignment Procedures
                          and Approving Manner of Notice Thereof, and (D) Scheduling a Hearing
                          to Approve Assumption and Assignment of the Assumed Contracts (D.I.
                          86) [Docket No. 137 – filed July 15, 2022]

                   B.     Combined Objection of the Official Committee of Unsecured Creditors to
                          the (1) Motion of Debtors for Entry of Interim and Final Orders (I)
                          Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing
                          the Debtors to Use Cash Collateral, (III) Granting Liens and Providing
                          Superpriority Administrative Expense Status, (IV) Granting Adequate
                          Protection to the Senior Secured Lender, (V) Modifying Automatic Stay,
                          (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [D.I.
                          11]; and (2) Motion of Debtors for Entry of (I) an Order (A) Approving
                          Certain Bidding Procedures and the Form and Manner of Notice Thereof,
                          (B) Scheduling an Auction and a Hearing on the Approval of the Sale of
                          all or Substantially all of the Debtors’ Assets, (C) Establishing Certain
                          Assumption and Assignment Procedures and Approving Manner of Notice
                          Thereof, and (D) Scheduling a Hearing to Approve Assumption and
                          Assignment of the Assumed Contracts; and (II) an Order (A) Authorizing
                          and Approving the Debtors’ Entry into an Asset Purchase Agreement; and
                          (B) Authorizing the Sale of all or Substantially all of the Debtors’ Assets
                          Free and Clear of all Encumbrances; and (III) an Order Approving the
                          Assumption and Assignment of the Assumed Contracts; and (IV) Granting
                          Related Relief [D.I. 86] [Docket No. 142 – filed July 18, 2022]

                   Related Documents:

                   i.     Motion of the Debtors for Entry of an Order Shortening the Notice and
                          Objection Periods for the Debtors’ Bidding Procedures Motion [Docket
                          No. 87 – filed July 3, 2022]

                   ii.    Order Shortening the Notice and Objection Periods for the Debtors’
                          Bidding Procedures Motion [Docket No. 91 – entered July 5, 2022]

                   iii.   Notice of Motions and Hearing [Docket No. 94 – filed July 5, 2022]

                   iv.    Notice of Rescheduled Hearing Regarding Motion of Debtors for Entry of
                          (I) an Order (A) Approving Certain Bidding Procedures and the Form and
                          Manner of Notice Thereof, (B) Scheduling an Auction and a Hearing on
                          the Approval of the Sale of all or Substantially all of the Debtors Assets,
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                             (C) Establishing Certain Assumption and Assignment Procedures and
                             Approving Manner of Notice Thereof, and (D) Scheduling a Hearing to
                             Approve Assumption and Assignment of the Assumed Contracts; and (II)
                             an Order (A) Authorizing and Approving the Debtors Entry into an Asset
                             Purchase Agreement; and (B) Authorizing the Sale of all or Substantially
                             all of the Debtors Assets Free and Clear of all Encumbrances; and (III) an
                             Order Approving the Assumption and Assignment of the Assumed
                             Contracts; and (IV) Granting Related Relief [Docket No. 124 – filed July
                             13, 2022]

                   v.        Debtors’ Reply in Support of Bidding Procedures Motion [Docket No. 141
                             – filed July 18, 2022]

                   vi.       Debtors’ Omnibus Reply in Support of (I) Bidding Procedures Motion,
                             and (II) DIP Financing Motion [Docket No. 169 – filed July 21, 2022]

                   vii.      Notice of Filing Revised Order (I) (A) Approving Certain Bidding
                             Procedures and the Form and Manner of Notice Thereof, (B) Scheduling
                             an Auction and a Hearing on the Approval of the Sale of all or
                             Substantially all of the Debtors’ Assets, (C) Establishing Certain
                             Assumption and Assignment Procedures and Approving Manner of Notice
                             Thereof, and (D) Scheduling a Hearing to Approve Assumption and
                             Assignment of the Assumed Contracts; and (II) Granting Related Relief
                             [Docket No. 177 – filed July 22, 2022]

                   Witness Information:

                   The Debtors may offer the testimony by declaration, proffer, and/or live video
                   testimony of the following individuals:

                   a.        Marc D. Puntus – Partner and Co-Head of Debt Advisory and
                             Restructuring Group, Centerview Partners LLC

                   b.        John Boken – Managing Director, AlixPartners, LLP

                   The Official Committee of Unsecured Creditors may offer the testimony by
                   declaration, proffer, and/or live video testimony of the following individual:

                   a.        Liz Park Hu – FTI Consulting, Inc.

                   Status:    The hearing on this matter is going forward.




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Dated: July 22, 2022                     Respectfully submitted,
       Wilmington, Delaware

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